      Case 2:16-cv-03441-ROS Document 46 Filed 02/05/18 Page 1 of 2



 1   Steven S. Guy (#009106)
     THE GUY LAW FIRM, P.L.L.C.
 2   10105 E. Via Linda, Suite 103
 3   Scottsdale, Arizona 85258-5326
     Phone: 480.767.3175
 4   Fax: 480.767.3175
     E-mail: steve@steveguylaw.com
 5
     Attorney for Defendant Inventurus Knowledge Solutions, Inc.
 6

 7
                                UNITED STATES DISTRICT COURT
 8
                                FOR THE DISTRICT OF ARIZONA
 9
     Rebecca Cook,                                Case No. CV-16-03441-PHX-ROS
10

11                 Plaintiff,
                                                  NOTICE OF SETTLEMENT
12
            v.
13
   Physiotherapy Associates, Inc. And
14 Inventurus Knowledge Solutions,
15 Inc.,

16                 Defendants.
17
            Defendant Inventurus Knowledge Solutions, Inc. (“IKS”), by and through its
18
     undersigned counsel, hereby gives notice that this matter has been settled. The parties
19
     expect to finalize the formal written settlement agreement and to file a stipulation to
20
     dismiss all claims with prejudice shortly.
21

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23                                      DATED this 5th day of February, 2018.

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     Case 2:16-cv-03441-ROS Document 46 Filed 02/05/18 Page 2 of 2



 1

 2                                                  THE GUY LAW FIRM, P.L.L.C.
 3

 4                                                  By: /s/ Steven S. Guy
                                                    Steven S. Guy
 5                                                  10105 E. Via Linda, Suite 103
                                                    Scottsdale, Arizona 85258-5326
 6                                                  Attorney for Defendant Inventurus
 7                                                  Knowledge Solutions, Inc.

 8
                               CERTIFICATE OF SERVICE
 9
10     I hereby certify that on February 5, 2018, I electronically transmitted
       DEFENDANTS’ MOTION TO EXTEND TIME TO RESPOND TO
11     PLAINTIFF’S WRITTEN DISCOVERY REQUESTS to the Clerk’s Office
12     using the CM/ECF System for filing, which caused such document to be served on
       counsel of record through the Court’s CM/ECF System.
13

14

15
       /s/ Steven S. Guy
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